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                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                           MAY 12 2022
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
  ORLANDO GARCIA,                                  No.    22-55115

                   Plaintiff-Appellant,            D.C. No. 2:20-cv-09886-DSF-GJS
                                                   Central District of California,
    v.                                             Los Angeles

  DONNA M. HARNSBERGER; ASLAN               ORDER
  CATERING, INC., a California Corporation,

                   Defendants-Appellees.

         Appellant’s motion (Docket Entry No. 8) for voluntary dismissal is granted.

  This appeal is dismissed. Fed. R. App. P. 42(b).

         This order served on the district court acts as the mandate of this court.


                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT


                                                    By: Linda K. King
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7




  LK/Pro Mo
